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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

  ERIE MOORE, JR., ET AL.                          CIVIL ACTION NO: 3:16-CV-01007

  VERSUS                                           JUDGE TERRY A. DOUGHTY

  LaSALLE CORRECTIONS, INC.,                       MAG. JUDGE KAREN L. HAYES
  ET AL.

                   WRONGFUL DEATH AND SURVIVAL ACTION
            THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                              JURISDICTION

       1.     Plaintiffs, Erie Moore, Jr., Tamara Green, and Tiffany Robinson bring this

              cause of action for monetary damages individually and for survival

              damages on behalf of their father and declaratory relief and costs of court

              pursuant to 42 USC 1983, 1985 and 1988, to redress the depriv ation by

              defendants, their agents, and employees, and others acting in concert

              with them, under the color of state law, of the Plaintiffs' rights, privileges

              and immunities secured by the Constitution of the United States, Eighth

              Amendment and Fourteenth Amendment of the Constitution and

              negligence under the laws of the State of Louisiana.

              Jurisdiction is invoked pursuant to 28 USC Sections 1331, 1343(a)(1), (2),

              (3) and (4). Plaintiffs allege pendant jurisdiction and supplemental

              jurisdiction over the state law claims.


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                                       PARTIES

       2.    Plaintiffs, TAMARA GREEN, TIFFANY ROBINSON and ERIE MOORE,

             JR. are citizens of the United States and the natural biological children of

             the deceased ERIE MOORE, SR. They are the only heirs of ERIE

             MOORE, SR. TIFFANY ROBINSON is domiciled in the State of

             Louisiana. TAMARA GREEN and ERIE MOORE, SR., are domiciled in

             the State of Texas.

       3.    Made defendant herein is LASALLE MANAGEMENT COMPANY, LLC

             (“LaSalle”) d/b/a LaSalle Corrections a private, domestic corporation, with

             the registered agent listed with the Secretary of the State of Louisiana as

             William K. McConnell, 192 Bastille Lane, Suite 200, Ruston, Louisiana

             71270. It is a named insured under the policy of insurance issued by THE

             PRINCETON EXCESS and SURPLUS LINES INSURANCE COMPANY.

       4.    Made defendants herein are(a) RICHWOOD CORRECTIONAL CENTER,

             LLC , (“Richwood”) a private, domestic corporation, with the registered

             agent listed with the Secretary of the State of Louisiana as William K.

             McConnell, 192 Bastille Lane, Suite 200, Ruston, Louisiana 71270.

             It is a named insured under the policy of insurance issued by THE

             PRINCETON EXCESS and SURPLUS LINES INSURANCE COMPANY.

             Made defendant herein is (b) WARDEN RAY HANSON, Warden of


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             Richwood Correctional Center and at all times herein serves as the chief

             policy maker for the Richwood Correctional Center and is responsible for

             the daily operations of the Richwood Correctional Center. He is sued in

             his individual and in his official capacities. He acted at all times herein

             under the color of state law. He was at all relevant times employed by

             Richwood and LaSalle. (c) ASSISTANT WARDEN AULTMAN, Assistant

             Warden of Richwood Correctional Center and at all times herein serves as

             the chief policy maker for the Richwood Correctional Center and is

             responsible for the daily operations of the Richwood Correctional Center.

             He is sued in his individual and in his official capacities. He acted at all

             times herein under the color of state law. He was at all relevant times

             employed by Richwood and LaSalle.

       5.    Made a Defendant herein are:

       (a)   LT. GERALD HARDWELL was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle, and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He was the shift officer in charge

             of the night shift. He had the authority to classify prisoners and to refer

             them for medical assistance. He is sued in his individual and in his official

             capacities.


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       (b)   LT. CHRISTOPHER LORING was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He was the shift officer in charge

             of the day shift. He had the authority to classify prisoners and to refer

             them for medical assistance. He is sued in his individual and in his official

             capacities.

       (c)   C/O JEREMY RUNNER was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle, and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (d)   SGT. REGINALD WILLIAMS was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle, and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (e)   C/O REGINALD CURLEY was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle and at all times herein

             mentioned, was acting in such capacity as the agent, servant and


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             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (f)   SGT. DUAN ROSENTHAL was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle, and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (g)   CAPT. RODERICK DOUGLAS was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle, and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (h)   SGT. KENNETH HART was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle and at all times herein

             mentioned, was acting in such capacity as the agent, servant and

             employee under the color of state law. He is sued in his individual and in

             his official capacities.

       (I)   C/O DANIELLE WALKER was a correctional officer at Richwood

             Correctional Center for Richwood and LaSalle and at all times herein

             mentioned, was acting in such capacity as the agent, servant and


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             employee under the color of state law. She is sued in her individual and

             in his official capacities.

       (j)   SGT. ROY BROWN was a correctional officer at Richwood Correctional

             Center for Richwood and LaSalle and at all times herein mentioned, was

             acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       (k)   C/O ALTON HALE was a correctional officer at Richwood Correctional

             Center for Richwood and LaSalle and at all times herein mentioned, was

             acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       (l)   JODY FOSTER was a correctional officer at Richwood Correctional

             Center for Richwood and LaSalle and at all times herein mentioned, was

             acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       (m)   NURSE MITCHELL was a nurse at Richwood Correctional Facility for

             Richwood and LaSalle and at all times herein mentioned, was acting in

             such capacity as the agent, servant and employee under the color of state

             law. He is sued in his individual and in his official capacities.

       (n)   DEPUTY WELLS was a deputy at Ouachita Correctional Center for the

             OUACHITA PARISH SHERIFF, and at all times herein mentioned, was


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             acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       (o)   DEPUTY LAMBRIGHT who was a patrol deputy for the OUACHITA

             PARISH SHERIFF, and at all times herein mentioned, was acting in such

             capacity as the agent, servant and employee under the color of state law.

             He is sued in his individual and in his official capacities.

       (p)   DEPUTY MURPHY who was a deputy at Ouachita Correctional Center

             for the OUACHITA PARISH SHERIFF, and at all times herein mentioned,

             was acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       (q)   DEPUTY HOLYFIELD who was an investigator of violent crimes for the

             OUACHITA PARISH SHERIFF, and at all times herein mentioned, was

             acting in such capacity as the agent, servant and employee under the

             color of state law. He is sued in his individual and in his official capacities.

       ®)    OUACHITA PARISH SHERIFF              is a political subdivision of the

             State of Louisiana. He is domiciled in Monroe, Louisiana. He is sued in

             his official capacity and as the employer of deputies HOLYFIELD, WELLS

             and MURPHY and other like situated deputies.

       (s)   Monroe Police Officer Crowson who was a police officer of the City of

             Monroe, and at all times herein mentioned, was acting in such capacity as


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             the agent, servant and employee under the color of state law. He is sued

             in his individual and in his official capacities.

       (t)   Made defendant herein is the CITY OF MONROE. The City of Monroe is

             a political subdivision of the State of Louisiana. It is sued in its official

             capacity. CITY OF MONROE contracted with LASALLE and RICHWOOD

             to provide correctional services to the City. The City of Monroe failed to

             adequately monitor the performance of LaSalle and Richwood under the

             contract and its non-delegable duties to inmates housed at RCC, including

             the duty to train correctional officers and adopt policies and procedures to

             prevent use of excessive force, to properly monitor inmates to train and

             supervise correctional officers, and to properly classify and house

             inmates.

       (u)   Made Additional Defendant herein is THE PRINCETON EXCESS and

             SURPLUS LINES INSURANCE COMPANY (hereinafter “Princeton”).

             Princeton is a foreign excess line insurance corporation domiciled in

             Delaware and doing business in Louisiana and has contracted to insure

             Richwood, LaSalle and their employees named as Defendants herein by

             virtue of policy number N1-A3-RL-0000073-04 policy period 6/30/15-

             6/30/16. Plaintiff shows that Princeton is liable in solido, or alternatively,

             jointly and severally, with Richwood, LaSalle and their employees who are

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             named defendants and provides a policy of insurance which will pay all or

             a part of a judgment rendered herein against Richwood, LaSalle and their

             employees as a named defendant.



                                        FACTS

       6.    On or about November 14, 2015, Erie Moore, Sr. died from injuries

             suffered at Richwood Correctional Center as a result of the fault and

             deliberate indifference of Defendants.

       7.    On or about October 11, 2012, Erie Moore, Sr., f ollowed Louisiana State

             Trooper Hanemann. Hanemann pulled over and stopped. Erie Moore Sr.

             stopped behind him. Moore immediately began making threats against

             Hanemann. Moore made suicidal ideations by making assertions

             Hanemann would shoot and kill him. Hanemann believed Mr. Moore was

             attempting to provoke a violent confrontation and commit suicide thereby.

             Trooper Hanemann held Moore for a mental health evaluation.

             Hanemann detained Moore and placed him under his custody.

             Hanemann telephoned the Monroe City police dispatcher to inquire of

             Moore’s mental health history. Hanemann told the Monroe city dispatcher

             that Moore was crazy and that Moore was the one who pulled Hanemann

             over. The Trooper caused to be issued a notice to local law enforcement


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             including the City of Monroe about Moore’s behavior for the purposes of

             officer safety. However, the City of Monroe did not provide this notice to

             Crowson.

       8.    Erie Moore, Sr., was arrested by Monroe police officer Crowson on

             October 12, 2015 about 6:15a.m., for disturbing the peace by using foul

             language and acting erratically at a doughnut shop on Forsythe Ave,

             Monroe, LA. This was an alleged violation of the Monroe city code.

             Moore told the officer that Crowson was going to shoot and kill Moore.

             Crowson took no action in response to Moore’s suicidal behavior.

             Crowson should have known about the October 11, 2015 incident with the

             Trooper. Crowson was also aware that Moore had acted erratically at the

             doughnut shop on October 11, 2015 as well.

       9.    Crowson transported Moore to Richwood Correctional Center which was

             at all times operated by LASALLE and RICHWOOD. The City contracted

             with LASALLE and RICHWOOD for housing their misdemeanor arrestees.

             RICHWOOD and LASALLE entered into a management agreement on

             October 31, 2005 for the operation of Richwood Correctional Center.

       10.   LASALLE and RICHWOOD correctional officers attempted to book

             Moore into the Richwood Correctional Center around 7:45 a.m. on

             October 12, 2015. Booking and intake were not completed. Moore acted


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             erratically in the booking area. Moore was placed in isolation lockdown

             cell #7, hereinafter referred to as “LD7". LD7 is an isolation cell that is

             monitored with video cameras in the Central Control Room of Richwood

             Correctional Facility. There were no other inmates in this cell with Erie

             Moore, Sr. Moore was acting erratically inside the cell, at times being

             compliant and at others being non compliant, sometimes acting

             reasonable and others acting in a deranged manner. There was a special

             management cell reserved for those having mental health conditions.

             Moore had exhibited obvious mental health conditions to the trooper, the

             Monroe Police officer and to Richwood staff.

       11.   At or around 9:00 p.m., two inmates, namely Vernon White and Erin

             Daniels engaged in a fight in another area, RWHC, at the Richwood

             Correctional Facility. Vernon White suffered injuries to his shoulder and

             neck. After this fight, inmate Vernon White, was placed in isolation LD7

             with Erie Moore, Sr.

       12.   During the investigation, Vernon White was found to be the perpetrator of

             the fight in RWHC and was given a disciplinary sanction. At the time of

             placement of Vernon White, correctional officers knew or should have

             known that Vernon White was violent. White was placed in LD7 with

             Moore. There was a single occupancy lockdown cell available but White


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             was not placed in it. Standard correctional practice dictates that a v iolent

             prisoner who recently had been fighting to not be placed in a cell with an

             apparent non-violent prisoner, if such a cell is available.

       13.   Around 10:30 p.m. on October 12, 2015, Lt. Gerald Hardwell heard Erie

             Moore, Sr. allegedly kicking on the cell door. Lt. Hardwell commanded

             Moore to refrain from the kicking. Moore did not comply. After three

             warnings, Hardwell radioed for Jeremy Runner to come and assist him.

             The correctional officers breached the door and sprayed Moore with

             pepper spray. After he became compliant, they took him to

             decontamination . The correctional officers returned him to LD7. During

             that night Moore acted erratically, sometimes making sense and other

             times not making sense. Some officers characterized Moore as acting

             “crazy”.

       14.   On October 13, 2015 at 7:00 A.M., Lt. Gerald Hardwell reported to Lt.

             Chris Loring that two inmates, Vernon White and Erie Moore, Sr., had

             been in a physical confrontation and needed medical attention. Mace was

             sprayed into the face of Erie Moore, Sr. before he was restrained. The

             correctional officers returned the inmates back to LD7. The inmates were

             not separated, contrary to sound and reasonable correctional practices.

       15.   Defendants knew or should have known the potential for violence


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             between the two inmates and inmates should have been separated.

       16.   Around 1722 hrs. another incident took place in LD7 betw een Moore and

             White. No staff of Richwood Correctional Center intervened in this

             incident.

       17.   Over the course of the next 45 minutes, inmate White is not seen on

             camera; however, Erie Moore, Sr. is seen sitting on the bed, apparently

             sleeping and walking back and forth to the window on the door.

       18.   Later, C/O Alton Hale delivered two food trays through the door to Moore

             in LD7. Erie Moore began to eat his food. HALE did not see the second

             inmate, VERNON WHITE, and did not report this observation to anyone.

       19.   At approximately 1807 hrs. Corrections Officer Runner looked through the

             window and saw Inmate White lying in the corner, shaking. Runner

             summoned assistance. Moore was allegedly beating on the cell door and

             shouting.

       20.   Runner entered the cell to remove White from the cell. Lt. Gerald

             Hardwell, Lt. Christopher Loring, Sgt. Reginald Williams, Correctional

             Officer Reginald Curly and Correctional Officer Steadman Sirmons

             responded and entered the cell. Loring sprayed Moore with mace.

             Runner in the presence of Hardwell, Loring, Williams, Curly and Sirmons

             deliberately and viciously struck Moore in the back of the head; these


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             officers encouraged or assisted Runner in striking Moore, the force of

             which threw Moore to the floor. Moore was in good physical health

             before being struck.

       21.   At about 7:00 pm, Hardwell, Williams, Runner and Curly again entered

             Moore’s cell to extract him, allegedly for his transport to the Ouachita

             Parish Sheriff for investigative purposes. White died from injuries

             suffered at Richwood Correctional Center. Hardwell used mace on

             Moore. Hardwell a few minutes later grabbed Moore from behind in a

             bear hug. Hardwell carried Moore into the hallway and slammed him

             down to the hard tile floor, head first. Runner, Williams and Curly made

             body punches to Moore. Moore was not physically resisting any of the

             correctional officers. Once the six officers completed the cell extraction,

             Mr. Moore had obviously suffered some severe injuries and was not

             moving.

       22.   Moore was lifted by Runner, Curley and Williams and carried to the Four-

             Way or the innerlock area. While carrying Moore, Runner carelessly

             tripped and dropped Moore on his head onto the hard tile f loor.

       23.   Mr. Moore remained in the innerlock or Four-Way area from about 7:10pm

             until around 8:50pm hours . While in this area, Mr. Moore was

             unconscious. Plaintiffs allege based on information and belief that Moore


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             was attacked by correctional officers in the four way. Nurse Mitchell,

             Hardwell, Curley, Runner, Williams, Warden Aultman and Jody Foster

             observed Mr. Moore in a state of unconsciousness. All of these persons

             saw Moore in this state over the course of over an hour and a half but

             none suggested that he should be transported to a hospital. And none

             took his vital signs to determine the extent of his condition.

             Mitchell observed a knot to Mr. Moore’s head. Mitchell did not take any

             vital signs or conduct any other elementary medical examination.

       24.   Ouachita Parish deputies including Holyfield and Lambright went to the

             four way to observe Moore and transport him. The deputies who saw

             Moore found him restrained, lying on his back on the ground and was

             making a loud snoring noise. He was not responding to commands from

             the guards. He could not be awakened. It was clear that Mr. Moore had

             been knocked unconscious. No Ouachita Parish Deputy or

             Richwood/LaSalle Officer requested further medical attention or transport

             to a hospital. Deputy Murphy carried Moore out to the waiting unit being

             driven by Deputy Wells. According to those in the four way/innerlock

             area, Mr. Moore was not bleeding from any head injury when he left that

             area.

       25.   Deputy Wells and Murphy of Ouachita Parish Sheriff transported Moore to


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             Ouachita Parish Correctional Center. Medical staff at OCC observed

             multiple bleeding wounds to Moore’s head. OPSO staff observed a

             possible head injury, refused to accept him as an inmate and immediately

             sent him to E.A. Conway Medical Center. Emergency room physician, Dr.

             Nelson was unable to treat Moore. ER Staff at E.A. Conway indicated Mr.

             Moore had been unconscious for a while. They sent Moore to University

             Health Center by Air Medics for further medical attention. Moore was

             admitted for treatment at UHC.

       26.   On November 14, 2015, Erie Moore, Sr. died at University Heath Center

             from excessive force sustained from correctional officers at Richwood

             Correctional Facility during a cell extraction or in the innerlock area or

             some other location. The Ouachita Parish Coroner ruled Mr. Moore’s

             death the result of a homicide. The OPSO investigated Mr. Moore’s

             injuries. However, no law enforcement officer with OPSO continued the

             investigation to determine who killed Mr. Moore. Ouachita Parish Sheriff

             ceased its investigation due to contractual relations with McConnell,

             Richwood Correctional and/or LaSalle Management.

             FIRST CAUSE OF ACTION: USE OF EXCESSIVE FORCE

       27.   Plaintiffs reiterate and reallege paragraphs 1 - 26 as though fully set forth

             herein. Plaintiffs bring this cause of action pursuant to 42 USC 1983 for


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             violation of Erie Moore, Sr.’s Eight and Fourth Amendments and Due

             Process rights to be free of use of excessive force. LaSalle, Richwood, Lt.

             Gerald Hardwell, Lt. Christopher Loring, Sgt. Reginald Williams,

             Correctional Officer Jeremy Runner, Correctional Officer Alton Hale,

             Correctional Officer Reginald Curley, Correctional Officer Jody Foster,

             Deputy Wells, Deputy Murphy, and Correctional Officer Steadman

             Sirmons are Defendants herein.

       28.   During the 23 hours of incarceration, MOORE was maced three times

             which was excessive to the need.

       29.   On October 13, 2015 on or around 6:04 p.m ., officers entered the cell of

             MOORE, who was not aggressive at the time and ordered him to the floor.

             According to the Richwood Correctional Center Unusual Occurrence

             Report, Moore replied “when I get done”. Defendants did not wait, instead

             Moore was maced and beat in his head by Runner with the assistance of

             Hardwell, Loring, Williams and Curley until Moore fell to the floor. He was

             later pulled from cell LD7 by Hardwell who slammed him to the floor head

             first. Additionally, force was used on Moore in the Four-W ay and during

             his transport to OCC. Nurse Mitchell indicates he was kneeling when

             Moore was seen in the four way; however, he was physically carried into

             the four-way and out of the four-way. There is a report by Deputy


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             Holyfield that Moore was dropped and/or his head was injured while be

             carried out of the four way. There was no reason to use force to the

             head.




       SECOND CAUSE OF ACTION: FAILURE TO INTERVENE, 42 USC 1985
                          CONSPIRACY AND
                        FAILURE TO SUPERVISE

       30.   Plaintiffs reiterate and reallege paragraphs 1 - 29 as though fully set forth

             herein. Plaintiffs bring this cause of action pursuant to 42 USC 1983.

             LaSalle, Richwood, RCC Sgt. Rosenthal, RCC Sgt. Hart, RCC c/o

             Runner, RCC c/o Foster, RCC Assistant Warden Aultman, RCC c/o

             HALE, Deputy Holyfield, Deputy Murphy, Deputy Wells, Deputy

             Lambright, RCC Rosenthal, RCC Sgt. Brown, RCC Lt. Loring, RCC Lt.

             Hardwell and RCC Sgt. Williams are Defendants herein.

       31.   Rosenthal, Runner, Loring, Curley, Hardwell and Williams were present at

             or near the cell and hallway when Moore was beaten in the head, thrown

             head first onto the hallway floor and then beaten with fists.

       32.   Defendants Richwood, Aultman, Rosenthal, Runner, Loring, Curley,

             Foster, Hardwell and Williams violated the rights of MOORE to be free of

             excessive use of force when despite having the opportunity, failed to


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             instruct or order officers to stop, restrain correctional officers or intervene

             to stop the excessive force used that was clearly illegal. Further, these

             defendants herein conspired to deprive Moore of his civil rights in violation

             of 42 USC 1985 by placing Moore in the four way where it was well known

             there were no cameras and is a place of choice to teach inmates a

             “lesson” and inflict additional punishment in the form of pain. The use of

             the four way in this manner was known to Hardwell and Loring and other

             defendants but no action was taken to prevent its use in this manner. A

             conspiracy to cover up the responsible parties for Moore’s death occurred

             by not investigating the homicide of Moore when clear and plain evidence

             pointed to those responsible. The Ouachita Parish Coroner pronounced

             the mode of Moore’s death as homicide but Holyfield and Lambright failed

             to investigate his injuries and stopped any inquiry once Moore was

             transported to a hospital.

       33.   Defendants further failed to adequately supervise correctional officers

             involved in the case, thus ratified the use of force thereby. No officer was

             disciplined in any fashion as a result of the death of the inmates White

             and Moore. No RCC officer has ever been disciplined in connection with

             the death of an inmate. Neither RCC nor LaSalle investigated the cause

             of death of either inmate; no supervision or discipline was invoked to


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             discover whether action or inaction by Richwood or LaSalle employees

             played a role in the cause of death of White and Moore. Neither RCC nor

             LaSalle monitor the instances of use of force by their correctional officers

             creating an atmosphere or culture for the use of excessive force.

                       THIRD CAUSE OF ACTION:
    FAILURE TO MONITOR AND CLASSIFY, TRAIN, AND IMPLEMENT POLICIES
               and PROVIDE ADEQUATE MEDICAL ATTENTION

       34.   Plaintiffs reiterate and reallege paragraphs 1 - 33 as though fully set forth

             herein. City of Monroe, LaSalle, Richwood, Hansen, Aultman, Officer

             Danielle Walker and Correctional Officer Alton Hale, Officer Crowson,

             Hardwell, Runner, Curley, Williams, Foster, Nurse Mitchell, Loring,

             Rosenthal, and Monroe Police Officer Crowson, are made defendants

             herein.

       35.   Crowson displayed deliberate indifference to Moore’s mental health

             issues. Crowson failed to provide medical care to Moore who was in his

             custody. Moore displayed obvious and serious medical health conditions,

             including suicidal ideations. When Crowson took Mr. Moore into custody

             and transported him to Richwood, he failed to inform Richwood booking

             officers of the information he learned on the scene or from the Trooper.

             The Monroe dispatcher failed to inform Crowson of Trooper Hanemann’s

             observations. Moore was housed in cell LD7, an isolation cell, with


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             camera monitoring; he was not placed in a special management cell nor

             taken to the mental health facility. Moore was acting erratically. Booking

             officers had enough information to place Moore in a special management

             cell. Moore should have been placed in a special management cell.

             Moore displayed obvious and serious medical health conditions, including

             suicidal ideations.

       36.   The failure to implement adequate policy and training resulted in

             Defendant Danielle Walker, RCC booking officers and Officer Crowson

             and the Monroe city dispatcher failing to follow protocol, failing to send

             Moore to a mental health specialist, to properly monitor the cell, and

             training regarding the civil rights of prisoners including MOORE and was

             a cause of the violation of MOORE’S rights as described hereinabove.

       37.   Officer Danielle Walker was in the control room and fully responsible for

             the monitoring of the cameras in the cells. Walker failed to report

             altercations between Moore and White. The officers, including Hardwell

             and Loring, failed to separate Moore and W hite. Hartdwell and Loring

             failed to classify Mr. Moore as having mental health problems, possible

             suicidal ideations and place him in a suicide resistant cell like special

             management cell number one or two. Further neither shift supervisor

             referred Mr. Moore to a mental health specialist or to be examined by the


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              jail nurse.

       38.    Holyfield, Hardwell, Runner, Loring, Mitchell, Foster, Lambright, Wells,

              Murphy were aware that Mr. Moore suffered from an obvious and serious

              medical condition while in the fourway. Moore was unconscious and

              unresponsive. He should have been taken immediately to a hospital for

              examination and treatment but was instead allowed to lay unattended in

              the four way for nearly two hours. Richwood and LaSalle failed to train its

              officers concerning when to seek medical assistance.

                    FOURTH CAUSE OF ACTION: FAILURE TO
             TRAIN AND FAILURE TO IMPLEMENT ADEQUATE POLICIES

       39.    Plaintiffs reiterate and reallege paragraphs 1 - 38 as though fully set forth

              herein. Plaintiffs bring this cause of action pursuant to 42 USC 1983, et

              seq. LASALLE MANAGEMENT, LLC, RICHWOOD CORRECTIONAL

              CENTER, LLC, CITY OF MONROE, and HANSEN and AULTMAN are

              Defendants herein.

       40.    The failure to implement adequate policy and training of the proper

              extraction of an inmate from a cell Moore resulted in Defendants Lt.

              Gerald Hardwell, Lt. Christopher Loring, Sgt. Reginald Williams,

              Correctional Officer Jeremy Runner, Correctional Officer Reginald Curley

              and Correctional Officer Steadman Sirmons using excessive force and



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             housing White in the cell with Moore and failing to follow protocol and

             training regarding the civil rights of prisoners including MOORE and was

             a cause of the violation of MOORE’S rights as described hereinabove.

       41.   LASALLE, RICHWOOD, AULTMAN, and HANSEN are liable herein for

             failing to train correctional officers in defensive tactics, to provide

             adequate training, proper classification procedures, the proper monitoring

             procedures and to establish adequate policies. LASALLE

             MANAGEMENT, LLC, RICHWOOD CORRECTIONAL CENTER, LLC,

             AULTMAN and HANSEN failed to set forth an adequate policy regarding

             classifying and monitoring for prisoners and classifying at the Richwood

             Correctional Center in isolation cells. The policy and training were

             inadequate since they did not provide for constant observation or other

             methods of adequate observation, and only provided sporadic observation

             of inmates who displayed suicidal ideations. The City of Monroe had a

             non-delegable duty to supervise, train, have adequate policies, classify

             and monitor the individual defendants so that inmates are provided a safe

             environment and are not subjected to use of excessive force.

       42.   RCC and LaSalle failed to train their correctional officers in defensive

             tactics which caused Hardwell, Runner and others to resort to street

             fighting. This lack of training was a cause of Runner striking Moore in the


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             back of the head and Hardwell slamming Moore head first onto the

             hallway floor and the likely use of force in the fourway. Correctional

             officers were not provided adequate training prior to their assuming duties.

                     FIFTH CAUSE OF ACTION: FAILURE TO
                       PROTECT AND CLASSIFY INMATES

       43.   Plaintiffs reiterate and reallege paragraphs 1 - 42 as though fully set forth

             herein. Plaintiffs bring this cause of action pursuant to 42 USC 1983, et

             seq. LASALLE MANAGEMENT, LLC, RICHWOOD CORRECTIONAL

             CENTER, LLC, CITY OF MONROE, WARDEN HANSEN, Lt. Hardwell, Lt.

             Loring, Aultman and Capt. Douglas are Defendants herein.

             Defendants violated MOORE’s right to be free of excessive force in

             violation of the Fourth and Eighth Amendments when it learned White was

             a known violent offender and the defendants placed White in a lockdown

             cell with Moore.

       44.   On the morning of October 13, 2015, Loring, Hardwell and Douglas

             learned of an altercation between White and Moore in lockdown cell #7.

             Defendants should have separated White and Moore to prevent further

             physical conflict between them. These defendants had the authority to

             separate White and Moore.




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                              SIXTH CAUSE OF ACTION:
                                 STATE LAW CLAIMS

       45.   Plaintiffs reiterate and reallege all of the foregoing paragraphs as though

             fully set forth herein. CITY OF MONROE, LASALLE MANAGEMENT

             COMPANY, INC. and RICHWOOD CORRECTIONAL CENTER, LLC , its

             employees, agents and servants are made Defendants hereunder.

       46.   Plaintiffs allege violations of Louisiana Civil Code Article 2315. Officers

             and Defendants named hereinabove and other officers in the course and

             scope of their employment with CITY OF MONROE, OUACHITA PARISH

             SHERIFF, LASALLE and RICHWOOD, violated Erie Moore, Sr’s rights

             under Article One Section 5 of the 1974 Louisiana Constitution. LASALLE

             MANAGEMENT COMPANY, LLC and RICHWOOD CORRECTIONAL

             CENTER, LLC, OUACHITA PARISH SHERIFF are liable for the fault of its

             officers in using force against the deceased who was not presenting a

             threat. No force or battery was necessary at the time it was used. Also,

             the defendants are liable under LSA-C.C. art. 2315 for excessive use of

             force. The defendants and other employees are liable in solido unto

             plaintiffs.

       47.   Plaintiffs also allege that LASALLE and RICHW OOD failed to properly

             train its officers and others in classification, use of force, and proper



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             monitoring of known violent offenders. The Officers’ use of force

             constituted fault because there was

             little or no chance of the deceased’s escape, the officer had

             overwhelming force and power to subdue him, petitioner was not resisting,

             the risks and dangers perceived by the officers were minimal at best, the

             alleged acts of petitioner was minor, striking petitioner was unnecessary

             and unwarranted, and there was no emergency. Officers acted in

             retaliation to Moore’s alleged behavior of making suicidal gestures or

             exhibiting other mental health problems.

       48.   City of Monroe failed to implement procedures to require notices

             concerning threats to officers or citizens made by law enforcement to be

             broadcast to all of its patrol officers. Crowson was unaware of the

             Louisiana State Trooper notice concerning Moore.

       49.   Defendants Ouachtia Parish Sheriff, Lambright, Holyfield, Wells, Murphy,

             LaSalle, Richwood, Hardwell, Mitchell, Runner, Foster, Curley, Douglas,

             Loring, Aultman, and other correctional officers, and deputies and

             employees observed Moore in the four way when he was unresponsive

             and obviously suffering from a serious medical condition but failed to

             provide transport to a hospital. Plaintiffs allege violations of Louisiana Civil

             Code Article 2315 for negligence and intentional acts. Officers named


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             hereinabove and others in the course and scope of their employment with

             the LASALLE CORRECTIONS, INC. and RICHWOOD CORRECTIONAL

             CENTER, LLC committed fault and that fault should be evaluated under

             La. C.C. art. 2323 and 2324. Officers failed to provide adequate medical

             care, monitoring and failed to adequately inform superiors and Richwood

             of Mr. Moore’s mental health condition.

       50.   At the time of the use of force and batteries, Erie Moore, Sr. should have

             been on suicide watch and should have been under constant supervision.

       51.   Plaintiffs allege violations of Louisiana Civil Code Article 2315 for

             negligence. Corrections officers and other employees in the course and

             scope of their employment with the LASALLE MANAGEMENT

             COMPANY, LLC, CORRECTIONS, INC. and RICHWOOD

             CORRECTIONAL CENTER, LLC, OUACHITA PARISH SHERIFF and

             CITY OF MONROE committed fault and that fault should be evaluated

             under La. C.C. art. 2323 and 2324. Said identif ied employees failed to

             adequately observe and failed to properly house and classify Erie Moore,

             Sr., permitting him to sustain violent injuries or permitted him to be injured

             in his cell causing serious and severe injuries on or about October 12-13,

             2015. At the time of the injuries, deceased should have been on suicide




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             watch and should have been under constant supervision. Plaintiffs bring

             suit for excessive use of force under Louisiana state law.

       52.   Defendants named hereinabove conspired and acted in unison to

             strike and injure MOORE under circumstances when such use of force is

             a clear violation of MOORE’s civil rights.

       53.   The CITY OF MONROE failed to properly supervise the performance of

             the contract with LASALLE and RICHWOOD. CITY OF MONROE has a

             duty to review and supervise the performance and to review training of

             LASALLE. CITY OF MONROE has non-delegable duties to not use

             excessive force, protect inmates, to provide adequate medical care and to

             provide a safe custodial environment of inmates.



                           MISCELLANEOUS PROVISIONS

       54.   Individual Defendants who are employed by LaSalle or Richwood are not

             entitled to qualified immunity under federal law because they are private

             individuals. Neither LASALLE nor RICHWOOD CORRECTIONAL

             CENTER, LLC, OUACHITA PARISH SHERIFF nor CITY OF MONROE

             are entitled to qualified immunity for official capacity claims.

       55.   Due to the malicious and deliberately indifferent actions of Defendants




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              LASALLE, RICHWOOD, and all individual defendants toward Erie Moore

              Sr’s federally protected rights, plaintiffs are entitled to an award of punitive

              damages against each of these defendants.

       56.    Plaintiffs demand a trial by jury.

       57.    Plaintiffs bring action on behalf of their father Erie Moore, Sr. who suffered

              mental distress, loss of liberty, invasion of privacy, pain and suffering,

              loss of earning capacity, loss of enjoyment of life, embarrassment and

              humiliation as a result of the actions of the defendants in terms of survival

              damages. Individually each Plaintiff suffered loss of love, affection and

              society due to their father’s death.

       58.    Plaintiffs are entitled to an award of attorney fees and costs under 42

              USC 1983 and 1988.

            WHEREFORE, PLAINTIFFS pray that:

       1.     They be granted a trial by jury.

       2.     There be judgment herein and against all Defendants named

              hereinabove, LASALLE MANAGEMENT COMPANY, LLC, RICHWOOD

              CORRECTIONAL CENTER, LLC, WARDEN RAY HANSEN, LT.

              CHRISTOPHER LORING, LT. GERALD HARDWELL, SGT. ROY

              BROWN, SGT. REGINALD WILLIAMS, SGT. KENNETH HART, C/O




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            DANIELLE WALKER, SGT. DUAN ROSENTHAL, CAPT. RODERICK

            DOUGLAS, C.O. JEREMY RUNNER, C.O. REGINALD CURLY, C/O

            ALTON HALE, NURSE MITCHELL, DEPUTY WELLS, DEPUTY

            MURPHY, DEPUTY HOLYFIELD, DEPUTY LAMBRIGHT, OUACHITA

            PARISH SHERIFF, and CITY OF MONROE in solido in a reasonable

            amount to be set by the Court, plus judicial interest, compensatory

            damages, consequential damages, and all costs of court, including

            attorney fees and for punitive damages against individual defendants.

       3.   LASALLE CORRECTIONS, LLC be dismissed without prejudice.

       4.   Such other and further relief as may be just.




                                                Respectfully Submitted,

                                                 /s/ Nelson Cameron
                                                NELSON W. CAMERON



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